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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

THOMAS GROSS,

       Plaintiff,

v.                                                        Case No: 5:18-cv-64-Oc-30PRL

CAPIO PARTNERS, LLC,

       Defendant.


                                ORDER OF DISMISSAL

       Before the Court is the Stipulation for Dismissal without Prejudice (Dkt. #13).

Upon review and consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.     This cause is dismissed without prejudice, each party to bear their own

attorney’s fees and costs.

       2.     All pending motions, if any, are denied as moot.

       3.     The Clerk is directed to close this case.

       DONE and ORDERED in Tampa, Florida, this 3rd day of July, 2018.




Copies furnished to:
Counsel/Parties of Record
